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                                 UNITED STATES DISTRICT C O URT
                                 SO UTH ER N D ISTR ICT O F FLO RID A
                                   W EST PALM BEACH DIVISIO N

                                      CA SE NO .9:16-cv-80424-W JZ

     W ILLIAM D AVID W ILCOX ,JR.,
     a/lc/a DA VID W ILCOX ,
     an individual,and M EGAN DAN IELLE LU CH EY ,
     an individual,
                                                              FILED BY                   D.C.
           Plaintiffs,
                                                                       JdL 12 2222
     V.
                                                                       ANGELA E.NOBLE
                                                                      CLERK U.
                                                                             S DIST.CI
     LA PEN SEE CON D OM INIUM A SSOCIATION ,                         s.
                                                                       o.oFFI
                                                                            A .-w.p.
                                                                                   B.
     lN C.,A Florida N ot-For-profitCom oration,
     M ARY M CFA DDEN ,an individual,
     M AC RESID EN TIAL M AN A GEM EN T SERV ICES,LLC,
     A Florida Lim ited Liability Com pany,and
     DAVID W OLFF a/k/aD AV ID W OLF,an individual,


           Defendants.


                                 FIRST AM ENDED CO M PLM NT

            Plaintiff,W illiam DavidW ilcox,Jr.,a/k/aDavidW ilcox(ttDavid''),andplaintiff,Megan
     DanielleLuchey (tcMegan''andtogetherwith David,(dplaintiffs''),hereby sueDefendant,La
     Pensee Condominium,Association,Inc.(the lûAssociation'),Defendant,Mary M cFadden
     (iM cFadden''lsDefendant,MAC ResidentialManagement Services, LLC (EEM AC'')5and
     Defendant, David Wolff a/lda David W olf(ddW olff') and togetherwith the.Association,
     M cFadden,and M AC,E'Defendants''),and allegeasfollows:
                                             PAR TIES

                  The A ssociation isa Florida N ot-for-profitCorporation,condom inium association

    thatoperatesam ulti-story residentialbuilding located at4000 South Ocean Boulevard,South Palm
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     Beach,FL 33480 (the tlBuildinf'),pursuant to the Association's governing docum ents, and
     Chapter718 ofthe Florida Statutes.

                   The Association is governed by a Board of Directors (the t<Board'') that
     em pow ered to,am ong otherthings,overseethem anagem ent,and operation,ofthe Association.

                   M A C is a Florida Lim ited Liability Com pany w ith a PrincipalAddress of 1153

     H illsboro M ile,Suite 6,Hillsborough Beach,FL 33062.

            4.     M cFadden is a naturalperson,and a citizen,and resident,ofthe State ofFlorida.

            5.     M A C,through itsprincipal,M cFadden,actsastheA ssociation'sproperty m anager.

            6.     Therefore, all conduct com plained of herein by M A C was perpetrated by and

     through M cFadden,itsauthorized agent.

                   M cFadden is individually liableto Plaintiffsfora1lclaim sasserted herein,because

     M cFadden eithercom m itted,orparticipated in the com m ission of,said claim s.

            8.     M AC is liable to Plaintiffs for allof M cFadden's conduct com plained of herein,

     because at all tim es relevant hereto,M cFadden was the authorized agent for M AC, and such

     conductwasengaged in while in the scope ofherauthorized dutiesto acton behalfofM AC .

            9.     Asdiscussedingreaterdetailbelow,McFaddenviolatedtheFHA (definedbelow),
     because M cFadden personally im plem ented and enforced the A ssociation's retaliatory conduct

     towardsPlaintiffs.

            10.    W olffisa naturalperson,and a citizen,and resident,ofthe State ofFlorida.

                   W olff is a m em berofthe Board,and the Association'sSecretary.

                   W olff is individually liable to Plaintiffs for all claim s asserted herein,because

     W olffeithercomm itted,orparticipated in the com m ission of,said claim s.
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               13.         The A ssociation is liable to Plaintiffs for allof W olff s conduct com plained of

     herein,because atal1tim es relevanthereto,W olffw as an authorized agent forthe A ssociation,

     and such conductw asengaged in whilein thescope ofhisauthorized dutiesto acton behalfofthe

     A ssociation.

               14. Asdiscussed in greaterdetailbelow,W olffviolated theFHA (defined below),
     becauseW olffpersonally im plem ented and enforced theA ssociation'sretaliatory conducttow ards

     Plaintiffs.

                           David is a naturalperson,and a citizen,and resident,ofthe State ofFlorida.

               16.         M egan isa naturalperson,and a citizen,and resident,ofthe State ofFlorida.

                                           JURISDICTIO N AND VEN UE

               17.         ThisCourthasoriginaljurisdictionpursuantto l1U.S.C.j1331,and42U.S.C.
     53613,becausethislawsuitisbeingbroughtundertheFairHousingAct,42U.S.C.53601etseq.
     (tl1()1117l-1zàk'')

                           This Courthas supplementaljurisdiction over Plaintiffs'state law claims
     pursuanttoj28U.S.C j1367.

                           Venue isproperpursuantto j28U.S.C 51391(b),asthe eventsoromissions
     giving rise to the causesofaction setforth herein occurred in thisdistrict.

                                           FA CTS CO M M ON TO ALL C OU NTS

               20.         This law suitis predicated upon D efendants'prem editated,diabolicalactionsof

     coercion,threats,and intim idation in orderto ensure thatD avid,and M egan, would be rem oved

     from their hom e,because David has a service dog nam ed Zeusthatthe Association previously

    approvedtoresideinthesubjectunit,andbecauseMegan isAfrican-American.
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            21.     Unfortunately forD efendants,while itmay appearto be 1956 in the fiefdom that

     isthe association they govenz,and operate,itis2021,and the deplorable actsofthe Defendants,

     acting in concert,w ith the sole and exclusive purpose ofousting David,and M egan,from their

    hom e,isnottolerated underthe law .

                   Non-party LaPensee 303,LLC ($$303'3 ownsunit303 oftheBuilding (the
     ttUnit''),andthereforeisamemberoftheAssociation.

                    303'sprincipalisValerieS.M anzo,Esq.(((Manzo'').
            24.     M anzo is an attorney adm itted to practice in the State ofN ew York since 1980.

            25.     M anzo is afonuerproseoutorforSuffolk County,N ew Y ork.

            26.     In late D ecem ber,2020,303 w as contem plating leasing the Unit,as3035slease

    w ith itspriortenantsexpired.

            27.     David,through hisrealestatebroker,Roy GelberCGe1ber''),reached outto
     303'srealestatebroker,EdLepsetler(ûtepselter''),inconnectionwithDavid'spotentialleaseof
    the Unit.

            28.     Eventually,303,and D avid,entered into thatcertain Standard LeaseA greement

     (theitoriginalLease''),andthatcertainFirstAmendmenttoStandardLeaseAgreement(thetTirst
    Amendment''andtogetherwiththeOriginalLease,thedtease'l.A copyoftheLeaseisattached
    hereto atExhibitû1A ''

                    W hile the Lease contem plated that 303, and D avid,would execute a Second

    Am endm entto the Lease,such w asneverexecuted and m ade partofthe Lease.

                    W hile the Lease contem plated that M egan was also going to be a signatory,

    M egan neverexecuted the Lease.
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             31.   Pursuantto theLease,303 leased the Unitto David forthe period ofJanuary 25,

    2021,toJanuary24,2023(the(teaseTenn'').

             32.   Pursuant to the Lease,David w as required to pay a lum p sum paym ent in the

    amountof$50,700.00 to 303,which such amountrepresentedrentin theam ountof$46,800.00
    forthe tirstyearofthe lease,and a $3,900.00 security deposit,and $46,800.00 forthe second
    yearoftheLeaseTerm ifpaid upfront,or$4,000.00 ifpaidmonthly.

                   Page1loftheLeaseentitleddssecurityandfullrentalfeeDepositReceipt''(the
    tûDepositReceipf'),whichwasexecutedbyDavid,isadocumentthat,onceexecutedbyManzo,
    wouldacknowledgereceipt303'sreceiptof$50,700.00from DavidforthefirstyearoftheLease
    Term .

             34.   On oraboutJanuary 8,2021,a copy oftheLease,w ith page 2 leftinadvertently

    blank due to an apparentscanning error,w assentto M cFadden,forapprovalby the A ssociation

    (theSlBlankPage2Lease').A copyoftheBlankPageLeaseisattachedheretoatExhibit($B.''

                   A 1lotherpages ofthe Lease,including the D epositR eceiptwhich setforth that

    rentfortheGrstyearoftheLeaseTerm would be$46,800.00,wereincluded intheBlank Page2
    Lease.

             36.   On oraboutJanual'
                                   y 8,2021,M cFadden received a docum entthatshe advised

    theAssociationrequiredbothDavid,and303,hadtoexecute(theltDavidApprovalDocumenf'),
    aswellasacheckintheamountof$150.00payabletotheAssociation(thetravidApplication
    Check'),bothofwhichMcFaddenadvisedwererequiredinorderforDavidtobeapprovedasa
    tenantofthe Unit. A copy ofthe David ApprovalD ocum ent,and the D avid Application Check,

    are attached hereto atcom posite Exhibit1$C.''

                   A lso,on or about January 8,2021,M cFadden received a docum entthat she
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     advisedtheAssociationrequiredboth Megan,and 303,hadtoexecute(thettMegan Approval
    Documenf'),aswellasacheckintheamountof$150.00payabletotheAssociation(theCûMegan
    ApplicationCheck'),bothofwhichM cFaddenadvisedwererequiredinorderforMegantobe
    perm itted to reside in the Unitw ithoutbeing characterized asa guest,and to have fullaccessto

    the Building,including allam enities. A copy ofthe M egan ApprovalD ocum ent,and the M egan

     Application Check,areattached hereto atcom posite ExhibitGtD .''

            38.     OntheMeganApplicationCheck,adjacenttothewordGIMEM O,''istheverbiage
     1:303 LUCH EY Applicationr''Luchey,ofcourse,being M egan'slastnam e.

            39.     On oraboutJanuary 8,2021,afterreceiving the D avid A pprovalDocum ent,the

     David Application Check,the M egan A pprovalDocum ent,and the M egan Application Check,

    M cFadden called M anzo and advised herthattheA ssociation hadperform ed abackground check

     on D avid,and M egan,and thatthere was a potentialissuew ith respectto M egan'scredit.

            40.     M anzo advised M cFadden thatshe was notconcerned,because the rentfor the

     Grstyearofthe LeaseTel'm w asgoing to bepaid upfrontpriorto occupancy.

            41.     A s part of the m ove-in process, the A ssociation required David to till out a

     docum ent    entitled   IISERVICE      AN IM AL/EM OTIONA L         SUPPPORT       AN IM AL

    APPLICATION''(thetlserviceAnimalApplication''),asDavidhasaserviceanimalnamedZeus,
     and w asrequesting a reasonable accom m odation so thatZeus could reside in the Unit.

            42.     David filled outthe Service A nim alApplication,and provided itto M cFadden

    onthree(3)separateoccasions,butMcFaddenonlyconfirmedreceiptofitonce,onJanuary 11,
    2021. A copy of the em ailin w hich M cFadden acknow ledges receipt ofthe Service Animal

    Application isattached hereto atcomposite Exhibitt1E .''

                    In connection w ith Zeus'approvalto reside in the Unit,atM cFadden'srequest,
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     on January 8,2021,David sentM cFadden an em ailattaching Zeus'registration identification

     (thettzeusRegistration Email''). A copy oftheZeusRegistration Emailisattached hereto at
     Exhibit(ûF ''

            44.      A lso,in connection w ith Zeus' approvalto reside in the U nit,atM cFadden's

     request,on January 8,2021,D avid sentM cFadden an em ailattaching Zeus'vaccination records

     (the SszeusVaccination Email''). A copy of the Zeus V accination Em ail is attached hereto at
     Exhibit:1G ''

            45.      On January 15,2021,D avid received a phone callfrom M cFadden during which

     she advised him thatD avid,M egan,and Zeuswere conditionally approved,pending an interview

     with a Board m em ber,w hich w asscheduled to occuron Janual'y 19,2021.

            46.      O n Janualy 19,2021,David,and M egan,participated in an Ssinterview ''w ith

     RobertRosati(1'Rosati''),amemberoftheBoard,andtheTreasureroftheAssociation.
            47.      Significantly,the interview was conducted via telephone, and M egan had not

    visited theBuildingatthisjuncture,soneitherRosati,northeDefendants,knew thatshewas
     African-A m erican.

            48.      D uring the interview ,Rosati,D avid,and M egan,discussed the lease term of2

     years,thefactthatZeusw asgoing to reside in theU nitasa service anim al,Zeus'type,and breed,

     and the Association's Rules& Regulations.

            49.      At the conclusion of the interview , Rosati advised David, and M egan, that

     David's tenancy w as approved,thatM egan w ould be perm itled to reside in the Unit,not be

     characterized as a guest,and would have fullaccessto the Building,and its am enities,and that

     Zeuswasapproved as a service anim althatcould reside in theU nit.
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            50.       0n January 19,2021,Lepselter,303's real estate agent, em ailed M cFadden

     inquiring as to whether the Association w ould issue an approvalletter w ith respectto D avid's

    rentalofthe Unit(the ûlM cFadden-taepselterApprovalEmail''). A copy ofthe s4cFadden-
    LepselterApprovalEm ailisattached hereto atExhibitt$H .''

                      On January 19, 2021,M cFadden responded to Lepselter advising that the

    A ssociation Stdoes not issue approval letters''but that she can send Lepselter a Certificate of

     Approvalthe follow ing day. See ExhibitH .

            52.       On January 24,2021,in response to an em ailfrom David regarding w hetherhe

     could m ove in on thew eekend,and in an effortto coordinate David's,Zeus',and M egan'sm ove

     in,McFadden advised David thatno move inswere allowed on weekends(the llM cFadden-
    W ilcoxApprovalEmail'').A copyoftheM cFadden-W ilcoxApprovalEmailisattachedhereto
     atExhibittç1''

            53.       On Janual.
                               y 24,2021,David,and M egan,wentto theBuilding to pick up the keys

    totheUnit,and providea$50,700.00check to Lepselter.

            54.       A memberofthe Association named LizaDunn ($$Dunn'')wassitting on her
     balcony w ith herm otherand saw D avid,and M egan,on January 24,2021.

            55.       W hen D unn noticed that M egan was A frican-A m erican,she told her m other

     dûwellthatain'tgoing to work''as Dunn had previous knowledge ofthe Association's prior
     discrim ination including harassing a lesbian couple thatresided in theU nitbefore David,M egan,

     and Zeus,asw ellasm aking racialslurs.

            56.       D unn's w ords would prove to be prophetic,as the D efendants were aboutto

     em bark on a prem editated slash and burn cam paign againstDavid,M egan,and Zeus.
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            57.      On oraboutFebruary 10,2021,asM egan wasexiting theBuilding'selevator,

    W olffgotin M egan's face,and yelled llniggers don'tbelong herel''

            58.      Shocked and scared,M egan ran outofthe nearestexistofthe Building,gotin

    hercar,drove aw ay,and called D avid.

            59.      D avid consoled her,and said''let'stalk aboutitwhen 1gethom e.''

            60.      W hen David,and M egan,discussed W olfps abhorrentstatem ent,they initially

    decided notto do anything,becausethey did notw antto rock theproverbialboat,and m aketheir

     living situation w orse.

            61.      OnFebruary13,2021,atapproximately9:00a.m.,BenjaminRipstein,amember
    oftheAssociation,John Lawson ($;Lawson''),amemberoftheBoard,andthePresidentofthe
    A ssociation,and John Rahul,a m em berofthe A ssociation,irately banged on the Unit'sdoor.

            62.      W hen D avid opened the door,they barged into the Unit,and outto the balcony,

     and accused D avid ofhaving a party during w hich someone allegedly vom ited over the U nit's

     balcony.

                     D avidw asshocked,and told them they werem istaken -thatno onevom ited over

     hisbalcony,and told the m en to leavetheU nit.

            64.      D unn,w ho livesbelow the Unit,saw w hatthe m en falsely believed to be vom it,

     and advised them thatitw as unprocessed food ata Board m eeting,as som e ofthe unprocessed

    food landed on Dunn'sbalcony.

            65.      On Februal'y 13,2021,M cFadden em ailed M anzo aboutthe alleged vom iting

     incident,and stated that David Sslied about the service anim alhe has in your unit,which is a

     Doberm an puppy,largerthan the building and has everyone frightened.''
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            66.      On February 13,2021,M anzo responded to M cFadden,and rem inded herSsthat

     the lawyerfortheA ssociation vetted them . Based on the factthatonly service anim alsw ould be

     approved ....hisanim alislegitim ate ...no? thet
                                                    dzeusIsLegitimateEmail''),acopyofwhich
     is attached hereto atExhibit11J.''

                     Rem arkably, M cFadden, doing the Defendants' bidding, was attem pting to

     intim idateM anzo into getting rid ofDavid,M egan,and Zeus,becauseZeusw asa Dobennann,a

     fact that was disclosed to the Association, Rosati, and M cFadden, in the Service Anim al

     Application,the identification pictures, and the vaccination records,that David provided to

     M cFadden,and in the interview with Rosati.

            68.      M cFadden,and the A ssociation's,harassm entcontinued.

            69.      On Februal'y l8,2021,M cFadden em ailed D avid lying,and asserting thatZeus

     wasbarkingnon-stop,whenhewasnot.(thet&klclDadden lsLyingEmail''),acopyofwhich is
     attached hereto atExhibitd% .''

                     On February 18, 2021,D avid, defending him self, and M egan, against these

     clearly fabricated allegations,and understandably frustrated,and angry,em ailed M cFadden back

     advising that she was lying,and the barking w as em anating from the owner of 2 other units

     located on the sam e tlooroftheU nit.

                     David reiterated to M cFadden,who was aware of the racist rem arks m ade to

     M egan,thatttgtlheracistshitisbeingstoppedaswellandlam gettingthepoliceinvolved.Megan
     isfearing forherlife.''

            72.      0n or about February 21, 2021, David, and M egan, ran into Law son in the

     Building,and told him aboutW olffs appalling,racistconduct.
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            73.     Lawsonresponded,&t1know.Hetoldmehesaidit.He'sjustold.''
                    Faced w ith the harassm ent that m agically appeared after W olff told M egan

     ççniggersdon'tbelong here,''and fearfulthattheA ssociation'srdaliatory conductwould continue

     to escalate,David,and M egan,contacted thePalm Beach County Sherriff'soffice.

            75.     OnFebruary24,2021,DeputyDavidHu1(ûûDeputyHul'')wasdispatchedtothe
     Unit,where David waspresent,and M egan,was on speakerphone.

            76.     M egan relayed W olff's disgusting statem entto Deputy Hul,and while H ulsaid

     such was obviously offensive,no crim e had been com m itted.

                    Despitethefactthatno crim e m ay have been technically com m itted,thedam age

     done to M egan,and David,was unquantifiable. A copy of the Police Reportregarding the

     incidentisattached hereto atExhibitC$L.''

            78.     On February 24, 2021, Dunn, aware of the retaliatory conduct that D avid,

     becauseofhisserviceanimalZeus,andMegan,becauseofherrace,werebeingsubjectedto,as
     wellassomeoftheDefendants'priordiscriminatory practices,sentM cFadden an email(the
     çrunnEmail''),andexpressed herconcernthatsuchharassmentwasnothistorically limitedto
     David,and M egan,and requested thateach Board m em berresponsibleforthe harassm entresign.

     A copy oftheDunn Em ailisattached hereto atExhibittCM .''

                    The harassm entcontinued. The Defendantsw ere fabricating argum entsagainst

     David, and Zeus, a protected service anim al, while ignoring the fact that the barking w as

     emanatingfrom aunitonthesametloorastheUnitthatisownedbyLaurieMarchel($$M arche1''),
     am emberofthe Board,and the V ice Presidentofthe A ssociation.

            80.     Significantly,while M cFadden,and the A ssociation,harassed D avid about his
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     service anim al,they flouted the Association's governing docum entsw ith respectto M archel,as

     the V ice President of the A ssociation has 2 dogs living in her unit, in violation of the

     Association'sgoverning docum ents.

            81.     David responded to m ultiple em ails from M cFadden regarding allegations that

     Zeusw as barking providing video evidence proving thatthe barking w as actually com ing from

     M archel's2 dogs.

            82.     On June22,2021,DavidemailM clraddenprovidingheravideoof,amongother
     things,m ultiple dogsbarking in M arche'sunit. A copy ofthe aforementioned em ailisattached

     hereto atExhibit$$N .''

            83.     On June 27,2021,David,and Lawson,engaged in an em ailexchange in w hich

     D avid provided Law son w ith video evidence thatthe barking wasnotem anating from the Unit,

     but rather M archel's unit,in w hich 2 dogs reside,w hich is a violation of the A ssociation's

     governingdocuments(theltawsonDogBarkingEmail'').A copy oftheLawsonDogBarking
     Em ailisattached hereto atExhibit110.''

            84.     On July 14,2021,David received a letter from JoA nn Burnett,acting in her

     capacity as counselforthe Association,(the llFirstBurnettLetter),in which M s.Burnett
     inexplicably requested information related to the A ssociation's approvalof Zeus as a service

     anim al,despitethefactthatasevidenced by the above,and the attached exhibits,theA ssociation

     already approved Zeus. A copy oftheFirstBurnettLetterisattached hereto atExhibit;$P.''

            85.     O n July 15,2021,M archel's dog attem pted to attack Zeusas D avid,and Zeus,

     were exiting theBuilding'selevator.

            86.     Aftertheincident,DavidcalledToddDavis('EDavis''),who,upon information
     and belief,is an em ployee of M A C,and serves as the Building's superintendent,and advised
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     Davis ofthe incident,and asked him ifhecould view the security footage from the incident.

            87.     D avid w entto the Building'sofficew ith D avis,and reviewed thefootage,which

     David had to take a video ofon hisphone,asDavisdid notknow how to download it.

            88.     David then went to the Unit and em ailed Law son, and M ary, regarding the

     incident,and D avid called thepolice.

            89.     W hileDavid waswaitingforthepoliceto arrivein theBuilding,he,andothers,

     heardM cFadden excoriating Davisforshow ing Davidthevideo footage, yellingt
                                                                               dlwjearefucked
     Todd ...how did he getthatvideo? W e are trying to gethim outl''

            90.     On July 20,2021,M s.Burnettsenta ietter (the dtsecond BurnettLetter'l,
     addressed to undersigned counsel,as counselfor David,and to M egan,Gelber,Lepsetter, and

     Manzo,among others,in which Ms.Burnettalleged thata purported lease agreement(the
     SsForged Lease'')wassentto McFadden on July 8,2021,by an unidentified individual,that
     contains a forged docum entpurporting to be page 2 ofD avid,and 303's lease. A copy ofthe

     SecondBurnettLetterisattached hereto atExhibit$$Q.''

            91.     The Forged Lease wasnota partofthe Leasç,and w asnotprepared by M anzo,

     Lepselter,Gelber,orM anzo.

            92.     Rather,itwasprepared by,oratthe behestof,one,orm ore,ofthe Defendants,

     in an attemptto getrid ofD avid,M egan,and Zeus.

            93.     W hen undersigned counselinquired ofM s.B urnettasto w ho sentM cFadden the

     Forged Lease,she advised thatshe could notprovide that information,because M cFadden was

     on vacation.

            94.     Othermysteries,such aswho (i)putscrewsinto David'svehicle'stireson 2
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     occasionswhen itwasparked in theBuilding'sparking lot;(ii)putscrewsintothetiresofa
     vehicleowned by EliasHalvatzis(ûllalvatzis''),an individualwho hassupported David,and
     Megan,whileitwasparkedintheBuilding'sparking lot;and(iii)putscrewsintothetiresofa
     vehicle owned by Dunn w hile itw asparked in the Building'sparking lot.

                    lnthepenultimateactofretaliation,theAssociationGledastatecourtcase(the
     fistateCourtCase'')against303,David,M egan,and someunknown individualnamed Mark
     M cFaddon,in w hich the A ssociation seeks an order of the Courtforcing 303 to evict David,

     M egan,Zeus,and this unknow n M cFaddon individualfrom the Unit. A copy ofthe A m ended

     Com plaintfiled in the St te CourtCase isattached hereto atExhibit(1R.''

             96.    The State Courtis predicated on the Forged Lease,and alleges thatthe Lease

     Term is only for6 m onths,and therefore,David,and M egan,are notauthorized to reside in the

     Unit.

             97.    The Am ended Com plaint is replete w ith lies,and based upon a docum entthat

     was created by,oratthe bestof,one orm ore ofthe Defendants.

             98.    M anzo neverrepresented to M cFadden thatthe Lease Term w as 6 m onths.

             99.    To the contrary,M cFadden,like allofthe Defendants,were w ellaw arethatthe

     Lease Term was2 years,asevidenced by the above,and the exhibitsattached hereto.

             100.   The lengths to w hich the D efendants have gone to retaliate againstDavid,and

     M egan,shocksthe conscience.

                    They have,am ong otherthings,com m itled a fraud upon the Courtin the State

     CourtCase,and 303,D avid,and M egan,intend to vigorously defend them selves in the State

     CourtCase,and to assertappropriate counterclaim sagainstthe A ssociation.
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                       A llconditionsprecedentto thefiling ofthisaction have been satisfied,excused,

     orw aived.

                                                 CO UNT l
                                 (RetaliationUndertheFairHousingAct)
            103.       Plaintiffs repeat and reallege the allegations contained in Paragraphs 1 - 102 as

     though fully setforth hereat.

            104.       The FairH ousing A ctprohibitsdiscrim ination in the provision ofhousing

     because of,am ong otherthings,race,and disability.

                       TheFairHousingAct,42U.S.C.j3617,etseq.,makesitûfunlawfultocoerce,
     intim idate,threaten,or intedkre w ith any person in the exercise of,oron accountof,hisorher

     having exercised,or on account of her or his having aided or encouraged any person in the
                                       /
     exerciseorenjoyment,any rightgrantedorprotectedby''itsprovisions.
            106.       The retaliation provisionsoftheFairHousing Acthave been broadly applied to

     allpracticesw hich have the effectofinterfering with the exercise ofrights underthe federalfair

     housing law s.

            107.       A senum erated in detailabove,and confirmed by M cFadden when she yelled at

     Davison July 15,2021,Defendantshave engaged in m ultiple,despicable,actsofretaliatory

     conductagainstPlaintiffsincluding,amongotherthings:

                             W olffyelling atM egan ttniggers don'tbelong herel''

                      @      M aking up liesaboutD avid violating non-existentrulesand regulationsof

                   the A ssociation

                   @         Causing M s.Burnettto dem and inform ation from D avid regarding Zeus

                   in orderforhim to be approved by the A ssociation as a service anim al,w hen he
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                        w asalready approved approxim ately 6 m onthsearlier

                               Trying to intim idate M anzo into causing 303 to evictDavid,and M egan

                        @      Filing the State CourtCase

                 108.    Defendants'flagrantacts ofintim idation,threats,and interference w ith David's,

         and M egan's,exercise oftheirfairhousing rightsconstitutesa violation ofthe FairHousing

         A ct.

                 WHEREFORE,PlaintiffsseekjudgmentagainstDefendants,(i)declaringthattheactions
         oftheDefendantsviolated theFairHousingAct;(ii)enjoiningDefendantsfrom continuingto
         violate the FairH ousing Act,and retaliating,threatening,and intim idating,D avid,and M egan;

         (iii) awarding Plaintiffscompensatory,and punitive damages'
                                                                   ,(iv)awarding Plaintiffs their
         attorneys'fees,and costs,incurred in connection w ith the institution,and prosecution,of this

         action;and(v)orderinganysuchotherreliefastheCourtdeemsjust,equitable,andproper.
                                                  CO UN T 11
                         qnterference,Coercion,orIntimidation IFIa.Stat.j760.374
                 109.    Plaintiffsrepeatand reallege the allegations contained in Paragraphs 1 - 102 as

         though fully setforth here at.

                 110. Fla.Stat.q760.37closely mirrorsthelanguageof42U.S.C.j3617,asquoted
         in Count1,protecting the rightsgranted underss.760.20-760.37.

                 111.    TheDefendants,throughtheactionsdescribedabove,violatedFla.Statj760.37
         by,am ong otherthings:

                    * W olffyelling atM egan S'niggersdon'tbelong herel''

                    * M aking up lies about David violating non-existentrules and regulations of the




t
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                   A ssociation

               * Causing M s.Burnettto dem and inform ation from D avid regarding Zeus in order

                   for him to be approved by the Association as a service anim al,when he was

                   already approved approxim ately 6 m onthsearlier

               * Trying to intim idate M arlzo into causing 303 to evictD avid,and M egan

               . Filing the State CourtCase

                   W HEREFORE,PlaintiffsseekjudgmentagainstDefendants,(i)declaringthatthe
     actionsoftheDefendantsviolated Fla.Stat5760.37;(ii)enjoiningDefendantsfrom continuing
     toviolatetheFla.Stat5760.37,andretaliating,threatening,andintimidating,David,andMegan;
     (iii) awarding Plaintiffscompensatory,and punitive damages;(iv)awarding Plaintiffs their
     attorneys'fees,and costs,incurred in connection w ith the institution,and prosecution,of this

     action;and(v)orderinganysuchotherreliefastheCourtdeemsjust,equitable,andproper.
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           W HEREFORE,PlaintiffsdemandjudgmentagainstDefendants,fordamages,including
     punitive dam ages,in an am ountto be determ ined,and forsuch further reliefas the Courtdeem s

     justandproper.
                           PLM NTIFF'SREQUEST FOR JURY TRIAL

           Plaintiffsherebyrequestajurytrial.

     Dated:July 10,2022


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                                                 South Palm Beach,FL 33480

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                           EX H IB ITS


            A IIrem ain un-changed from original
                                com plaint.
